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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION


UNITED STATES OF AMERICA


VS.                                    CASE NO: 2:11-cr-98-FtM-29DNF


BRIAN WENDELL FROST


                            OPINION AND ORDER

       This matter comes before the Court on the post-sentencing

Motion by the United States for Downward Departure of Defendant’s

Sentence Based Upon Substantial Assistance (Doc. #169) filed on

April 23, 2014.     Defendant filed a Response (Doc. #174) on May 28,

2014, along with a Motion to Seal (Doc. #173).

       There is a presumption of openness as to court files, and

that   presumption    may   be   overcome   only   by   a   showing   of   “an

overriding interest based on findings that closure is essential to

preserve higher values and is narrowly tailored to serve that

interest.”    Press-Enterprise Co. v. Super. Ct. of Cali., 464 U.S.

501, 510 (1984).      Defendant seeks to seal seven documents filed

with the Court, the oldest of which has been a matter of public

record    since   August    2013.      While   defendant’s      concern     is

legitimate, the Court does not find that the presumption of

openness has been overcome such that the documents should be sealed

from the public.     The Motion to Seal will therefore be denied.
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        At the time of the original sentencing the Court considered

defendant’s cooperation with the government in connection with a

debriefing in Boston.        As a result, the Court granted a variance

to 120 months imprisonment, from a range of 151-188 months.

Defendant’s subsequent cooperation does rise to the level of

substantial assistance, and therefore he is eligible for a sentence

reduction under Rule 35(b).             The Court is not bound by the

government’s recommended reduction, but has the authority to grant

a reasonable reduction based upon its evaluation of factors related

to defendant’s assistance.            United States v. Livesay, 525 F.3d

1081, 1092 (11th Cir. 2008)(“It remains true that after the

government has made a motion for downward departure pursuant to

U.S.S.G. § 5K1.1, the government has no control over whether and

to what extent the district court will depart from the Guidelines.

[   ]     The    district   court’s    downward   departure    need   only    be

reasonable.” (internal citations omitted)). In determining the

extent of a § 5K1.1 departure, “the district court must consider

the     five    non-exclusive   §   5K1.1   factors,   which   are:   (1)    the

usefulness of the defendant's assistance; (2) the truthfulness and

completeness of the defendant's information and testimony; (3) the

nature and extent of the defendant's assistance; (4) any injury

suffered or risk of injury or danger to the defendant and his

family as a result of his assistance; and (5) the timeliness of

the assistance.”       Livesay, 525 F.3d at 1092.        Other factors may



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be considered only if they relate to the assistance provided by

defendant.      Id.    After considering all the circumstances, the

Court concludes that a four level reduction is reasonable and

appropriate.

      Defendant’s prior Sentencing Guidelines calculation was a

Total Offense Level of 29, a Criminal History Category of VI, and

a   resulting    range      of    imprisonment    of   151    to    188   months

imprisonment.       The variance to an actual sentence of 120 months

imprisonment was essentially a three level reduction to Total

Offense Level 26 (the first base offense level containing the 120

months within its range).           Granting a further reduction of four

level results in a Total Offense Level of 22, a Criminal History

Category of VI, and a range of imprisonment of 84 to 105 months.

The Court finds that a sentence of 84 months imprisonment is

sufficient, but not greater than necessary, to comply with the

purposes of sentencing as set forth in 18 U.S.C. § 3553(a) after

considering defendant’s substantial assistance in addition to the

previously considered advisory recommendation of the Sentencing

Guidelines    and     all   the    factors    identified     at    18   U.S.C.   §

3553(a)(1)-(7).       All other components of the original sentence

shall remain as originally imposed.

      Accordingly, it is now

      ORDERED:

       1. Defendant’s Motion to Seal (Doc. #173) is DENIED.



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       2. The United States for Downward Departure of Defendant’s

          Sentence Based Upon Substantial Assistance (Doc. #169) is

          GRANTED.

       3. The Clerk of the Court shall enter an Amended Judgment

       reducing the sentence imposed to 84 months imprisonment, and

       otherwise leaving all other components of the sentence as

       originally imposed.

      DONE and ORDERED at Fort Myers, Florida, this             16th    day

of June, 2014.




Copies:
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